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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION
UNITED STATES OF AMERICA

               Plaintiff

       vs
                                                     Case No. 3: 16-CR-16
                                                     Judge Thomas M. Rose
MERLE LUNSFORD

                       Defendant

      ENTRY AND ORDER GRANTING DEFENDANT’S MOTION FOR PRETRIAL
     DETERMINATION (DOC. 40) AND FINDING THAT DEFENDANT WOULD NOT
           PRESENTLY QUALIFY AS AN ARMED CAREER CRIMINAL


       This matter comes before the Court pursuant to Defendant’s Motion for Pretrial
Determination as to whether Defendant is an Armed Career Criminal as defined by 18 U.S.C.
§924(c) (Doc. 40).
       The Government filed a Response (Doc. 42) to said Motion conceding that the Defendant
does not presently qualify as an Armed Career Criminal and for the 15 year mandatory minimum
sentencing enhancement, pursuant to 18 U.S.C. §924 (e) (1) if he was convicted of Count 3 of the
Indictment returned by the Grand Jury on February 9, 2016 in this captioned case.
       This Court, after a review of all applicable state and federal court documents relevant to the
Defendant’s prior criminal convictions, and considering those as well as the arguments presented by
counsel and in accordance with the United States Supreme Court’s decision in Johnson v. United
States, 1355 S.Ct. 2551 (2015) finds that Defendant, Merle Jay Lunsford, would not presently
qualify as an Armed Career Criminal and the 15 year mandatory minimum sentencing enhancement
pursuant to 18 U.S.C. §924(e)(1) if he is convicted of violations of 18 U.S.C. §§922(g)(1) and 924(e)
(1) as stated in Count 3 of the Indictment returned by the Grand Jury on February 9, 2016 in this
captioned case.
       IT IS SO ORDERED.
July 6, 2016                                         THOMAS M. ROSE

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                                                       Thomas M. Rose, Judge
                                                       United States District Court
